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       COME NOW, Defendants Dave Hawley, Ryan Miller, and Absolute Medical



 as follows:

       1. The Deadline to file dispositive motions in this case was October 18, 2019.

          See Doc. 193.

       2. Defendants attempted to submit Defendants Motion for Summary

          Judgment on October 18, 2019 but were met with hours of cm/ecf backend

          server error code 48. See Declaration that Party was Unable to File in a
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            Timely Manner Due to Technical Difficulties attached hereto a Exhibit



       3.

            Summary Judgment and supporting documents to the Clerk of Courts. See



       4.

            the Clerk of Courts regarding the inability to file and were advised that the

            cm/ecf servers were down for some time over the weekend. See emails



            Accordingly, Defendants respectfully request that this Court Accept



       Dated: October 21, 2019
                                          Respectfully

                                          /s/ Bryan E. Busch
                                          Bryan E. Busch, Esq. (Pro Hac Vice)
                                          bb@bsms.law
                                          BUSCH, SLIPAKOFF, MILLS &
                                          SLOMKA, LLC
                                          2859 Paces Ferry Road SE
                                          Suite 1700
                                          Atlanta, Georgia 30339
                                          (404) 800-4088 (Telephone)
                                          Attorneys for Defendants
Case 6:17-cv-02206-CEM-GJK Document 197 Filed 10/21/19 Page 3 of 16 PageID 4757




                          CERTIFICATE OF SERVICE

                                 that on October 21, 2019, I electronically filed the
 foregoing with the Clerk of the Court utilizing the CM/ECF system. I further certify
 that I electronically transmitted a true copy to:

       Diana N. Evans, Esquire
       Bradley Arant Boult Cummings LLP
       100 North Tampa Street, Suite 2200
       Tampa, Florida 33602
       dnevans@Bradley.Com
       Attorney for NuVasive

       Christopher W. Cardwell, Esquire
       Pro Hac Vice
       Gullett, Sanford, Robinson & Martin, PLLC
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       Nashville, TN 37201
       ccardwell@gsrm.Com
       Attorney for NuVasive



                                       /s/ Bryan E. Busch
                                       Bryan E. Busch, Esq. (Pro Hac Vice)
                                       bb@bsms.law
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       Attorney for NuVasive




       Attorney for NuVasive
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                                     /s/ Laura H. Mirmelli
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                                                   C
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   From:                   Laura Mirmelli
   To:                     Laura Mirmelli
   Subject:                FW: error code 48. Back end error
   Date:                   Monday, October 21, 2019 11:34:12 AM
   Attachments:            ATT00002.png
                           ATT00003.png
                           ATT00004.png




   From: Robin Brazil <rb@bsms.law>
   Sent: Monday, October 21, 2019 10:43 AM
   To: Laura Mirmelli <lm@bsms.law>; Bryan Busch <bb@bsms.law>; Fernando Bustelo
   <fb@bsms.law>
   Subject: FW: error code 48. Back end error


   From: Judi_Warwick@psc.uscourts.gov <Judi_Warwick@psc.uscourts.gov> On Behalf Of
   pacermail@psc.uscourts.gov
   Sent: Monday, October 21, 2019 10:13 AM
   To: Robin Brazil <rb@bsms.law>
   Subject: Re: error code 48. Back end error

   Good morning,

   There were a few courts and PACER that were down for a time over the weekend. Every site is back up
   and running as normal now.

   Please let us know if you encounter any further issues. We do apologize for any inconvenience this may
   have caused.

   Thank you,
   Judi

   PACER Service Center
   Phone: 210-301-6440
   Toll Free: 800-676-6856
   For Frequently Asked Questions: http://www.pacer.gov/psc/hfaq.html
   For Account Information: https://www.pacer.gov/psco/cgi-bin/psclogin.pl




   From:        Robin Brazil <rb@bsms.law>

   To:        "pacer@psc.uscourts.gov" <pacer@psc.uscourts.gov>
   Cc:        Laura Mirmelli <lm@bsms.law>, Bryan Busch <bb@bsms.law>, April Williams <Aw@bsms.law>, Fernando Bustelo
   <fb@bsms.law>

   Date:       10/19/2019 11:27 AM
   Subject:      error code 48. Back end error
Case 6:17-cv-02206-CEM-GJK Document 197 Filed 10/21/19 Page 16 of 16 PageID 4770



   Good evening.
   We have been trying to file a pleading since yesterday and we keep getting error code 48. Back end error. Please
   advise asap.




                                                                 Robin Brazil

                                                                 Atlanta Office Manager

                                                                 3350 Riverwood Parkway SE

                                                                 Suite 2100

                                                                 Atlanta GA 30339

                                                                 Direct: 4048004064

                                                                 Email: rb@bsms.law


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   recipient, or believe that you have received this communication in error, please do not print, copy, retransmit,
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   communication in error, and delete the copy you received. Under U.S. Treasury regulations, we are required to inform
   you that any advice contained in this e-mail or any attachment hereto is not intended to be used, and cannot be used, to
   avoid penalties imposed under the Internal Revenue Code.
